                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: In re: Oral Phenylephrine Marketing and Sales Practices
                                                            _____    Litig. Docket No.: 24-3296 ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: Kiley L. Grombacher, Esq.

Firm: Bradley/Grombacher LLP

Address: 31365 Oak Crest Drive, Suite 240, Westlake Village, CA 91361

Telephone: 805-270-7100
                    ___________________________                 Fax:

E-mail: kgrombacher@bradleygrombacher.com

Appearance for: Plaintiffs-Appellants
                                                         (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                )
                                                         (name/firm)

G Substitute counsel (replacing other counsel:                         _______                               )
                                                         (name/firm)

G Additional counsel (co-counsel with: Jonathan D. Selbin/Lieff Cabraser Heimann & Bernstein LLP
✔                                                                                                            )
                                                         (name/firm)

G Amicus (in support of:                                                                                     )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on                                                                                             OR

G I applied for admission on                                                                                 .


Signature of Counsel: /s/ Kiley Grombacher

Type or Print Name: Kiley L. Grombacher
